                                    Case 22-10293                 Doc 11          Filed 06/11/22              Page 1 of 2
                                                              United States Bankruptcy Court
                                                              Middle District of North Carolina
In re:                                                                                                                 Case No. 22-10293-bak
Mya Deionshai Corbett                                                                                                  Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0418-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jun 09, 2022                                               Form ID: 285                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 11, 2022:
Recip ID                 Recipient Name and Address
db                     + Mya Deionshai Corbett, 1183 University Dr, #105227, Burlington, NC 27215-8303

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 11, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 9, 2022 at the address(es) listed below:
Name                               Email Address
Anita Jo Kinlaw Troxler,
                                   office@chapter13gboro.com office5@chapter13gboro.com


TOTAL: 1
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Form 285
                                     UNITED STATES BANKRUPTCY COURT
                                                    Middle District of North Carolina
                                                       101 S. Edgeworth Street
                                                        Greensboro, NC 27401

                                                                                                  Bankruptcy Case No.: 22−10293
IN THE MATTER OF:
Mya Deionshai Corbett       xxx−xx−3117
1183 University Dr
#105227
Burlington, NC 27215

  Debtor(s)


                  NOTICE OF APPOINTMENT OF TRUSTEE AND MEETING OF CREDITORS


DATE FILED: 6/8/22
CREDITORS MEETING DATE: 7/11/22
TAKE NOTICE that Anita Jo Kinlaw Troxler is appointed Trustee; and take further
NOTICE that, pursuant to Standing Order of this Court, the Debtor, within four (4) days after receipt of this notice shall contact the Trustee's
Office,

                                                         Greensboro Chapter 13 Office
                                                             500 W. Friendly Ave.
                                                                P.O. Box 1720
                                                         Greensboro, NC 27402−1720


at (336) 378−9164 for an interview appointment. Pursuant to 11 U.S.C. Section 1326 the Debtor shall commence making the payments
proposed by the plan within 30 days after the plan is filed; and take further
NOTICE that the Meeting of Creditors pursuant to Section 341 (a) of the Bankruptcy Code herein be held in:


                                                            Creditors Meeting Room
                                                                  First Floor
                                                            101 South Edgeworth St.
                                                             Greensboro NC 27401


on the date hereinabove noted at 01:30 PM; and take further
NOTICE that the Debtor shall appear at the time and place appointed for the meeting of creditors for the purpose of being examined as
provided by the Bankruptcy Code; and take further
NOTICE that after the conclusion of the Meeting of Creditors, all parties in interest and creditors will be notified of the deadline for filing
objections to confirmation of the plan and the time, date and place of the hearing on any timely filed objections; and take further
NOTICE that pursuant to the Standing Order of this Court, the Debtor must maintain adequate collision insurance on any and all vehicles
which are subject to lien and owned by the Debtor. In the event the Debtor fails to do so, the Trustee is authorized to direct that the vehicle be
stored until evidence of proper insurance coverage is submitted; and take further notice that the Debtor may not incur additional debts nor
transfer assets without authorization from the Trustee or the Court.

Date: 6/9/22                                                                                      U.S. Bankruptcy Court

cc: Debtor(s)
    Attorney for Debtor(s)                                                                        OFFICE OF THE CLERK/
    Standing Trustee
